786 F.2d 1163
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.IN RE:  RAYE NILE BYRD, D.D.S., Debtor.
    85-5043
    United States Court of Appeals, Sixth Circuit.
    2/25/86
    
      E.D.Ky.
      APPEAL DISMISSED
      ORDER
      BEFORE:  MERRITT and CONTIE, Circuit Judges; and CELEBREZZE, Senior Circuit Judge.
    
    
      1
      This cause having come before the Court upon the record of district court proceedings, the briefs of the parties, and oral arguments; and
    
    
      2
      It appearing therefrom that the Court is without jurisdiction to entertain the appeal, there having been no final judgment; Rule 54(b), Fed.R.Civ.P.,
    
    
      3
      It is therefore ORDERED that the case be, and it hereby is, dismissed; Rule 9(d)(1), Rules of the Sixth Circuit.
    
    